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                                  UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   PROBATION OFFICE
                    PRESENTENCE INVESTIGATION AND DISCLOSURE NOTICE



RE:     Favors, Michael J.
        2:17CR00077-002


The defendant has been found guilty and Michael H. Watson, U.S. District Court Judge has ordered a
presentence investigation. Local Rule 32.1 of this Court dictates certain time frames for completion of the
presentence report and the disclosure process. Therefore, in compliance with Local Rule 32.1 you are advised:

1.    The presentence report will be completed by U. S. Probation Officer Schal Boucher, 614-719-3107.

2. The report will be available for disclosure to the parties on 5/6/2019 (35 days from conviction). The initial
presentence report will be provided electronically to the attorney for the defendant and the attorney for the
government. The defense attorney shall promptly provide one copy of the report to the defendant.

3. The attorney for the defendant and the government have 21 days from the disclosure date to communicate
any objections to the initial presentence report. Therefore, objections shall be communicated to the probation
officer not later than 5/28/2019.

4. Efforts will be made by the parties to resolve any objections to the report prior to its submission to the Court.
Any unresolved objections will be outlined by the probation officer in an addendum, which will be attached to
the final report and forwarded to the Court not later than 6/18/2019.




                                                                        Copies to:   Defendant
 John S. Dierna, Chief                                                               Defense Attorney
 U. S. Probation Officer                                                             Clerk of Court
                                                                                     Ass't. U. S. Attorney
 Date: April 5, 2019                                                                 File
